                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


SAMUEL ORTEGA, and
REBECCA SCOTT,

        Plaintiffs,

vs.                                                         No. 1:24-cv-00471-JB-SCY

MICHELLE LUJAN GRISHAM, in her
official capacity as Governor of the State of
New Mexico, and RAÚL TORREZ, in his
official capacity as Attorney General of the
State of New Mexico,

        Defendants.


      GOVERNOR LUJAN GRISHAM’S RESPONSE TO PLAINTIFFS’ MOTION FOR
       TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

        Defendant Governor Michelle Lujan Grisham, by and through her counsel of record,

hereby submits her response to Plaintiffs’ Motion for Temporary Restraining Order and

Preliminary Injunction (the “Motion”) [Doc 2].

                                      INTRODUCTION

        New Mexico, like the country as a whole, is experiencing historic levels of gun violence.

In an effort to combat this public health crisis, the Governor signed into law House Bill 129 in

early 2024, which imposes a seven-day waiting period on most gun purchases. Such waiting

periods have been proven to significantly reduce impulsive gun suicides and homicides.

Plaintiffs—two gun collectors financially backed by the National Rifle Association—now seek to

block this common sense safety measure and prevent New Mexico from using its broad police

power to protect its citizens on the basis that the waiting period allegedly violates their Second

Amendment Rights.
       The Court should soundly reject Plaintiffs’ dangerous request to preliminarily enjoin the

waiting period and disrupt the status quo during the pendency of this suit. Plaintiffs cannot

demonstrate a substantial likelihood of success on the merits because (1) the plain text of the

Second Amendment does not protect the right to immediately acquire newly purchased firearms,

(2) the waiting period is a presumptively lawful condition and qualification on the sale of arms,

and (3) the waiting period is consistent with the Nation’s history and tradition of firearms

regulations. Additionally, Plaintiffs fail to show any irreparable harm warranting extraordinary

preliminary injunctive relief because (1) they inexplicably waited months to bring this lawsuit—

literally filing it the day the law went into effect—and should not be indulged in their self-inflicted

inconvenience, (2) they cannot show a likely violation of their Second Amendment rights, and (3)

the waiting period has not impacted their ability to defend themselves. Finally, Plaintiffs cannot

show that the minimal burden of having to wait a week to obtain newly purchased firearms

outweighs the benefits of potentially saving nearly one hundred New Mexicans from impulsive

gun violence every year.

                                         BACKGROUND

       I.      Gun violence in New Mexico

       Both the country and New Mexico have witnessed a concerning increase in gun violence

over the years, with implications that extend beyond mere statistics. In 2022, the most recent year

for which complete data is available from the Centers for Disease Control and Prevention, 48,204

people died from gun-related injuries in the United States—more gun-related deaths than in any

other year on record aside from the previous year. 1 This represents a 35% increase in gun-related
                                                      0F




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     Firearm    Mortality   by    State,  Ctrs.   for    Disease    Ctr.    &      Prevention,
https://www.cdc.gov/nchs/pressroom/sosmap/firearm_mortality/firearm.htm (last visited May 17,
2024); CDC Provisional Data: Gun Suicides Reach All-time High in 2022, Gun Homicides Down
                                                  2
homicides from 2019. See Johns Hopkins, supra note 1. Gun-related suicides has likewise steadily

increased year after year since 2006. See id. Most of these are impulsive acts that are contemplated

for less than 24 hours prior. 2
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        Sadly, the situation is worse here in New Mexico. Over the past two decades, New

Mexico’s gun death rates rose from seventh highest nationwide in 1999 to third highest in 2022,

with the age-adjusted gun death rate increasing by 87% between 2010 and 2021. 3 Much of this
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increase has happened within the past few years. For example, there was a 70% increase in

homicides with a firearm from 2018 to 2021. See N.M Dep’t of Health, supra note 2, at 7.

Likewise, the number of patients in New Mexico’s trauma centers with gun injuries has increased

by 39% between 2019 and 2022. See id. at 4-5.

        II.     The passage of House Bill 129

        In early 2024, the New Mexico Legislature introduced House Bill 129, which sought to

impose a minimal waiting period on the sale of firearms. See H.B. 129, 56th Leg., 2nd Sess. (N.M.

2024). House Bill 129 addressed two primary issues: (1) preventing impulsive firearm homicides

and suicides and (2) closing or narrowing the “Charleston loophole” in which firearm purchasers

can receive a firearm without completing a federal background check should the background check




Slightly from 2021, Johns Hopkins Univ. (July 27, 2023), https://publichealth.jhu.edu/2023/cdc-
provisional-data-gun-suicides-reach-all-time-high-in-2022-gun-homicides-down-slightly-from-
2021; John Gramlich, What the data says about gun deaths in the U.S., Pew Research Ctr. (Apr.
26, 2023), https://www.pewresearch.org/short-reads/2023/04/26/what-the-data-says-about-gun-
deaths-in-the-u-s/.
2
 Duration of Suicidal Crises, Harvard Sch. of Pub. Health, https://www.hsph.harvard.edu/means-
matter/means-matter/duration/ (last visited May 20, 2024).
3
  Comprehensive Report on Gunshot Victims Presenting at Hospitals in New Mexico, at 5, N.M.
Dep’t of Health (Sept. 28, 2023), https://www.nmhealth.org/publication/view/report/8463/; Ctrs.
for Disease Ctr. & Prevention, supra note 1.
                                                 3
results not come back within three business days. 4 After undergoing a series of changes during the
                                                  3F




legislative session, the Legislature passed House Bill 129 on February 12, 2024. 5 Subject to certain
                                                                                 4F




exceptions, the final version of House Bill 129 makes it unlawful for any seller to “transfer of

ownership, possession or physical control of the firearm from the seller to the buyer before the end

of the required seven-calendar day waiting period.” H.B. 129 § 1(C). 6 The Governor signed House
                                                                      5F




Bill 129 on March 4, 2024. See N.M. Legislature, supra note 4. House Bill 129 was subsequently

codified as NMSA 1978, Section 30-7-7.3 (2024). Because House Bill 129 had no specified

effective date, it was set to become effective May 15, 2024. See N.M. Const. art IV, § 23.

       In passing House Bill 129, New Mexico joined at least a dozen other states that require

waiting periods for commercial firearms sales. New Mexico’s seven-day waiting period falls

squarely in the middle in terms of its length. Rhode Island, Maryland, and New Jersey also have

seven-day waiting periods. See R.I. Gen. Laws § 11-47-35(a)(1), -35.2(a) (7 days for all firearms);

Md. Code Ann., Pub. Safety, § 5-123(a) (7 days for regulated firearms); N.J. Stat. Ann. § 2c:58-

2(a)(5)(a) (7 days for handguns). Colorado, Florida, Illinois, and Vermont have three-day waiting

periods. See Colo. Rev. Stat. § 18-12-115; Fla. Stat. § 790.0655(1)(a); 720 Ill. Comp. Stat. 5/24-

3(A)(g); Vt. Stat. Ann. tit. 13, § 4019a. California, Hawaii, Minnesota, and Washington have longer




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 House Consumer Affairs, at 2:52 p.m., N.M. Legislature, https://bit.ly/4dJKUsC (statements of
House Bill 129 sponsor, Representative Andrea Romero); Fiscal Impact Report, at 3-4, Leg. Fin.
Comm. (Feb. 13, 2024), https://www.nmlegis.gov/Sessions/24%20Regular/firs/HB0129.PDF.
The Court may consider House Bill 129’s Fiscal Impact Report in determining legislative intent.
See Butkus v. Pub. Employees Ret. Ass’n, 2024-NMCA-041, ¶ 14, __ P.3d __.
5
 2024 Regular Session - HB 129, N.M. Legislature, https://www.nmlegis.gov/Legislation/
Legislation?Chamber=H&LegType=B&LegNo=129&year=24 (last visited May 16, 2024).
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 The waiting period may be extended up to twenty calendar days if the seven calendar-day waiting
period has expired without the completion of a required federal instant background check. Id. §
1(A).
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waiting periods. See Minn. Stat. § 624.7132 (eff. 8/1/23) (30 days for handguns, assault weapons);

Haw. Rev. Stat. § 134-2(a), (e) (14 days for all firearms); Wash. Rev. Code § 9.41.092(2) (10

business days for semiautomatic rifles); Cal. Penal Code § 26815(a) (10 days for all firearms);

D.C. Code § 22-4508 (10 days for all firearms).

       III.    The instant lawsuit

       On May 15, 2024—the day House Bill 129 went into effect—Plaintiffs filed the instant

action against the Governor 7 and Attorney General. Plaintiffs are two firearm collectors who tried
                            6F




to purchase firearms on May 15 but were told they would have to wait seven days pursuant to

Section 30-7-7.3. See Motion, Exhibits B-C. Plaintiffs claim Section 30-7-7.3’s seven-day waiting

period violates the Second Amendment. [Doc. 1] In addition to seeking declaratory and permanent

injunctive relief, Plaintiffs also filed a request for temporary restraining order and preliminary

injunction—despite being well aware of the passage of House Bill 129 and its impending

implementation months ago. 8     7F




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  The Governor, sued here in her official capacity, enjoys 11th Amendment immunity from any
claims for prospective relief because she does not “have a particular duty to enforce the statute in
question and a demonstrated willingness to exercise that duty.” Peterson v. Martinez, 707 F.3d
1197, 1205 (10th Cir. 2013) (cleaned up). However, for the purpose of defending Section 30-7-7.3
from Plaintiffs’ claims for declaratory and injunctive relief, the Governor agrees to waive her
sovereign immunity and consents to be sued in this Court, only in this case, only in her official
capacity, and only for prospective relief. See MCI Telecomms. Corp. v. Pub. Serv. Comm’n of
Utah, 216 F.3d 929, 935 (10th Cir. 2000) (“[A] state may waive its sovereign immunity by
consenting to suit in federal court.”).
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  Although Defendants do not yet have any specific evidence that the two individual plaintiffs in
the lawsuit were aware of House Bill 129’s passage, the organization bankrolling this lawsuit, the
National Rifle Association, was undoubtedly aware of it. See Breaking: NRA Files Legal
Challenge on Mandatory Waiting Periods in New Mexico!, NRA-ILA (May 15, 2024),
https://www.nraila.org/articles/20240515/breaking-nra-files-legal-challenge-on-mandatory-
waiting-periods-in-new-mexico; Emma Colton, NRA prepares for battles against blue state
governor ‘torching the Constitution’ with gun control, Fox News (Jan. 17, 2024),
https://www.foxnews.com/politics/nra-prepares-legal-battles-blue-state-governor-torching-
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                                           DISCUSSION

I.      Standard of review

        “A preliminary injunction is an extraordinary remedy, the exception rather than the rule.”

Mrs. Fields Franchising, LLC v. MFGPC, 941 F.3d 1221, 1232 (10th Cir. 2019) (cleaned up). To

obtain preliminary injunctive relief, a movant must show that “(1) the moving party will suffer

irreparable injury unless the injunction issues; (2) the threatened injury to the moving party

outweighs whatever damage the proposed injunction may cause the opposing party; (3) the

injunction, if issued, would not be adverse to the public interest; and (4) there is a substantial

likelihood that the moving party will eventually prevail on the merits.” Resolution Trust Corp. v.

Cruce, 972 F.2d 1195, 1198 (10th Cir. 1992). “The [second] and [third] factors ‘merge’ when, like

here, the government is the opposing party.” Aposhian v. Barr, 958 F.3d 969, 978 (10th Cir. 2020).

The movant must satisfy his or her burden for each one of these prerequisites. See Diné Citizens

Against Ruining Our Env’t, 839 F.3d 1276, 1281-82 (10th Cir. 2016). Because preliminary

injunctive relief is an “extraordinary remedy, . . . the right to relief must be clear and unequivocal.”

Nova Health Sys. v. Edmondson, 460 F.3d 1295, 1298 (10th Cir. 2006).

        Plaintiffs bear an even higher burden when mounting a facial challenge, as they do here,

which is “generally disfavored as ‘facial invalidation is, manifestly, strong medicine that has been

employed by the Supreme Court sparingly and only as a last resort.’” Golan v. Holder, 609 F.3d

1076, 1094 (10th Cir. 2010) (quoting Nat’l Endowment for the Arts v. Finley, 524 U.S. 569, 580

(1998)). This is a “heavy burden.” Id. (quoting Finley, 524 U.S. at 580). Plaintiffs “must ‘establish

that no set of circumstances exists under which the law would be valid,’ or show that the law lacks




constitution-gun-control. It is likely that firearm collectors like Plaintiffs were also aware of House
Bill 129’s passage. See Motion, Exhibit B ¶ 4, Exhibit C ¶ 4.
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‘a plainly legitimate sweep.’” Antonyuk v. Chiumento, 89 F.4th 271, 313 (2d Cir. 2023) (quoting

Ams. for Prosperity Found. v. Bonta, 141 S. Ct. 2373, 2387 (2021).

II.     Plaintiffs seek a disfavored preliminary injunction

        “Because the limited purpose of a preliminary injunction is merely to preserve the relative

positions of the parties until a trial on the merits can be held,” the Tenth Circuit specifically

disfavors “(1) preliminary injunctions that alter the status quo; (2) mandatory preliminary

injunctions; and (3) preliminary injunctions that afford the movant all the relief that it could

recover at the conclusion of a full trial on the merits.” Schrier v. Univ. of Colorado et.al., 427 F.3d

1252, 1258-59 (10th Cir. 2005) (cleaned up). Therefore, “a party seeking such an injunction must

make a strong showing both with regard to the likelihood of success on the merits and with regard

to the balance of harms[.]” O Centro Espirita Beneficente Uniao do Vegetal (“O Centro”) v.

Ashcroft, 389 F.3d 973, 975 (10th Cir. 2004).

        Plaintiffs’ requested injunctive relief is disfavored because it would require the Court alter

the status quo and grant Plaintiffs substantially all the relief that they could recover at the

conclusion of a full trial. First, Plaintiffs’ request for relief would upset the status quo because

Section 30-7-7.3 is now in effect. See Rocky Mountain Gun Owners v. Polis, 2023 WL 8446495,

at *7 (D. Colo. Nov. 13, 2023) (“The Governor is correct that, because Plaintiffs seek to enjoin a

law that is in effect, the injunction they seek would disrupt the status quo and is thus disfavored.”).

Second, Plaintiffs seek virtually all the relief they could be awarded at the end of trial on the merits

because they are requesting the same injunctive relief sought in their Complaint: an injunction

enjoining Defendants from enforcing Section 30-7-7.3. Compare [Doc. 1 ¶ 29], with Motion ¶ 31; 9      8F




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  That Plaintiffs may also seek (likely nominal) damages and attorneys’ fees does not compel a
different result. See Legacy Church, Inc. v. Kunkel, 472 F. Supp. 3d 926, 1023 (D.N.M. 2020)
(Browning, J.), aff’d sub nom. Legacy Church, Inc. v. Collins, 853 Fed. Appx. 316 (10th Cir.
                                                   7
see Peterson v. Kunkel, 492 F. Supp. 3d 1183 (D.N.M. 2020) (holding that the plaintiffs’ requested

preliminary injunction was disfavored because it was an exact overlay of the relief sought in their

complaint); Legacy Church, 472 F. Supp. 3d at 1023 (concluding that a request to preliminarily

enjoin the enforcement of a public health order “would supply [plaintiffs] with all the relief [they]

could hope to win from a full trial”). Accordingly, this Court should closely scrutinize Plaintiffs’

request for preliminary injunctive relief and require Plaintiffs to “make a strong showing both with

regard to the likelihood of success on the merits and with regard to the balance of harms[.]” O

Centro, 389 F.3d at 975.

III.   Plaintiffs are not entitled to a preliminary injunction

       A.      Plaintiff cannot demonstrate a strong likelihood of success on the
               merits

               1.      The plain text does not cover Plaintiffs’ desired conduct

       The Second Amendment provides: “A well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be infringed.” U.S.

Const. amend. II. In Bruen, the United States Supreme Court adopted a new two-part test for

Second Amendment claims, in which courts must first ask “whether the Second Amendment’s

plain text covers an individuals’ conduct.” Id. at 2129-30. If “the challenged law regulates activity

falling outside the scope of the right as originally understood . . . the analysis can stop there; the



2021); see also Strickland v. Madden Sales & Serv., No. 19-918 MV/JFR, 2020 U.S. Dist. LEXIS
95430, at *8 (D.N.M. May 8, 2020) (holding that the defendant’s motion for a preliminary
injunction seeking enforcement of a non-compete agreement was disfavored because it sought all
the relief that it could recover at the conclusion of a full trial on the merits and even though it
sought monetary damages, the “primary objective” of its counterclaims was to enforce the non-
compete agreement). The Governor also notes that Plaintiffs’ suit—brought against Defendants
solely in their official capacities—is barred to the extent they seek damages. See Taylor v. Lujan
Grisham, 544 F. Supp. 3d 1191, 1202 (D.N.M. 2021) (Browning, J.) (“State officials sued in their
official capacity for damages are not ‘persons’ for purposes of § 1983.” (citing Hafer v. Melo, 502
U.S. 21, 27 (1991), and Will v. Mich. Dep’t of State Police, 491 U.S. 58, 71 (1989)).
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regulated activity is categorically unprotected.” Bruen, 597 U.S. at 18. This approach is “rooted in

the Second Amendment’s text, as informed by history.” Id. at 19. A court must therefore give the

Second Amendment’s text its “[n]ormal meaning . . . [as] known to ordinary citizens in the

founding generation.” District of Columbia v. Heller, 554 U.S. 570, 576-77 (2008). Thus, it is

Plaintiffs’ burden to establish that the Second Amendment’s plain text, as understood to ordinary

citizens in the founding generation, protects a right to immediately acquire firearms. See Rocky

Mountain Gun Owners, 2023 WL 8446495, at *7; see also United States v. Reyna, 2022 WL

17714376, at *4 (N.D. Ind. Dec. 15, 2022) (“For Step One to have any meaning, the regulated

conduct must be defined specifically enough that it can meaningfully compare to the Second

Amendment's plain text — a plain text that is more complex than mere possession.”); see also

Bevis v. City of Naperville, 85 F.4th 1175, 1194 (7th Cir. 2023) (noting that “plaintiffs . . . have the

burden” on Bruen’s textual inquiry). They fail to do so.

       Section 30-7-7.3 does not implicate the plain text of the Second Amendment. First, it does

not plausibly infringe on Plaintiffs’ right to “bear Arms,” as that phrase “has a meaning that refers

to carrying for a particular purpose—confrontation.” Heller, 554 U.S. at 584; see also Bruen, 597

U.S. at 32 (holding the word “‘bear’ naturally encompasses public carry”). Nor does it infringe on

Plaintiffs’ right to “keep Arms.” Historically, “‘[k]eep arms’ was simply a common way of

referring to possessing arms[.]” Heller, 554 U.S. at 583. Unlike the laws at issue in Heller and

McDonald, which precluded individuals from possessing handguns in their homes, Section 30-7-

7.3 does not make possession of any weapon illegal. No New Mexican will be deprived of their

firearms by the law. And it places no limits or regulations on the firearms that are kept by an

individual. Instead, it merely delays delivery of commercially sold firearms.




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        Notably, many states and localities enacted licensing requirements for owning or

discharging firearms in the 18th and 19th centuries. See Exhibit A ¶¶ 40-76. And “licensing by its

nature thwarts any ability to acquire or use firearms on demand.” Id. ¶ 42. So even if the Second

Amendment protects some right to acquire firearms, it has never protected a right to acquire

firearms without delay. Indeed, Bruen itself recognized that the Second Amendment does not

protect a right to immediate firearm acquisition, stating that “nothing in our analysis should be

interpreted to suggest the unconstitutionality of the 43 States’ ‘shall-issue’ licensing regimes . . .

which often require applicants to undergo a background check or pass a firearms safety course”—

things which necessarily delay an individual’s ability to acquire a firearm. Bruen, 597 U.S. at 38

n.9. Although the Court left the door open to “shall-issue regimes where, for example, lengthy wait

times in processing license applications . . . deny ordinary citizens their right to public carry,”

Plaintiffs have not argued that the seven-day waiting period is “lengthy.” Id. Instead, Plaintiffs

maintain that any waiting period is unconstitutional. But Bruen “seems to acknowledge the facial

constitutionality of regimes requiring background checks and attendant waiting periods . . . , so

long as the waiting periods are not ‘lengthy.’” McRorey v. Garland, 23-cv-00047-O, 2023 WL

5200670, at *5 (N.D. Tex. Aug. 14, 2023) (rejecting constitutional challenge to “potential ten-

business-day waiting period”), aff’d 99 F.4th 831 (5th Cir. 2024). Bruen itself thus rejects

Plaintiffs’ position that they have a right to acquire firearms on demand.

        Plaintiffs present no historical evidence that the plain text of the Second Amendment was

originally understood to guarantee a right to immediately acquire purchased firearms. Instead,

Plaintiffs assert that “[t]he right to ‘keep’ arms necessarily implies the right to possess arms one

has acquired.” Motion ¶ 8. However, a right to possess something (i.e., to “keep” it) is not the same

as the right to acquire it, let alone the right to acquire it without delay. See, e.g., United States v.



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12 200-Ft. Reels of Super 8mm Film, 413 U.S. 123 (1973) (right to possess obscene materials did

not extend to right to import those same materials, even when sought only for personal possession).

A delay in exercising a right is therefore not necessarily an unconstitutional infringement of that

right. To the contrary, “[t]he Supreme Court has permitted waiting periods of varying duration in

several other constitutional contexts, including before obtaining a marriage license, and permits

for gathering to protest or parade.” Silvester v. Harris, 843 F.3d 816, 832 (9th Cir. 2016) (Thomas,

C.J., concurring). 10
                  9F




        Moreover, Plaintiffs’ implied-rights argument is contrary to Bruen and Heller. The Court

was clear: courts must determine whether “the Second Amendment’s plain text covers an

individual’s conduct.” Bruen, 142 S. Ct. at 2129-30 (emphasis added). Plaintiffs’ focus on implied

rights necessarily disregards the actual text of the Second Amendment and its scope as revealed

by historical understandings. Nowhere in the Court’s Second Amendment jurisprudence has it

sanctioned such a disregard for the Amendment’s plain text or the creation of implied rights. See,

e.g., Bruen, 142 S. Ct. at 2127 (“In Heller, we began with a ‘textual analysis’ focused on the

‘normal and ordinary’ meaning of the Second Amendment’s language.” (cleaned up)).

Accordingly, Plaintiffs’ argument that the Second Amendment “implicitly includes the right to

acquire” firearms “is quite-clearly not a ‘plain text’ analysis, required under Bruen.” Def.

Distributed v. Bonta, No. CV 22-6200-GW-AGRx, 2022 WL 15524977, at *4 (C.D. Cal. Oct. 21,

2022). Here, by labeling the so-called “right to acquire” firearms an “implie[d] right,” Plaintiffs




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   While Silvester was decided pre-Bruen, it is still good law to the extent its analysis focused on
history and tradition. See Bruen, 597 U.S. at 19 (stating that the first step of the pre-Bruen
framework “is broadly consistent with Heller, which demands a test rooted in the Second
Amendment’s text, as informed by history”).
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concede that the right is not found in the plain text of the Second Amendment. This dooms their

claim under Bruen.

       In sum, Plaintiffs clearly fail to meet their initial burden, and the Court need not proceed

further in its analysis. See Rocky Mountain Gun Owners, 2023 WL 8446495, at *8 (“From this

reading of the plain text, it is clear the relevant conduct impacted by the waiting period—the receipt

of a paid-for firearm without delay—is not covered”); Knight v. City of New York, 2024 WL

1126309, at *6 (S.D.N.Y. Jan. 17, 2024), report and recommendation adopted in part, Knight v.

City of New York, 2024 WL 1096991 (S.D.N.Y. Mar. 13, 2024) (concluding that 90-day waiting

period did not implicate the plain text of the Second Amendment because it does not prevent

individuals form keeping or bearing arms).

               2.       The waiting period is a valid condition and qualification on the sale of
                        arms

       Even if Plaintiffs could meet their initial burden, Section 30-7-7.3 is a presumptively lawful

condition and qualification on the sale of arms. The Supreme Court has repeatedly emphasized

that the right protected by the Second Amendment is “not unlimited.” Heller, 554 U.S. at 595.

“[I]ndividual self-defense is ‘the central component’ of the Second Amendment right.” McDonald

v. City of Chicago, 561 U.S. 742, 767 (2010) (quoting Heller, 554 U.S. at 599) (emphasis omitted).

Accordingly, the Heller Court stated that it should not be read to “cast doubt on . . . laws imposing

conditions and qualifications on the commercial sales of arms.” Heller, 554 U.S. at 626-27; accord

McDonald, 561 U.S. at 786. Such laws are “presumptively lawful regulatory measures.” Heller,

554 U.S. at 627 n.26.

       Notably, three justices concurred specifically in Bruen to emphasize the continuing validity

of this presumptively lawful category of regulatory measures. See Bruen, 597 U.S. at 81

(Kavanaugh, J., concurring, joined by Roberts, C.J.) (quoting Heller, 554 U.S. at 626-27); see also


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id. at 72 (Alito, J., concurring) (stating that Bruen did not “disturb[] anything that we said in Heller

or McDonald about restrictions that may be imposed on the possession or carrying of guns”)

(cleaned up)). Further, the Tenth Circuit affirmed that Bruen did not implicitly overturn Heller’s

list of presumptively lawful category of firearms regulations and that presumptively lawful

regulations are valid without having to consider the historical tradition of firearm regulation. See

Vincent v. Garland, 80 F.4th 1197, 1201-02 (10th Cir. 2023) (affirming law barring felons from

possessing firearms); accord United States v. Roberts, 23-cr-00057-TMBKFR-1, __ F. Supp. 3d

__, 2024 WL 50889, at *5 (D. Alaska Jan 4, 2024) (“[T]he Bruen court did not repudiate—and

indeed preserved—Heller’s list of “‘presumptively lawful’ firearm regulations.”). 11  10F




        Section 30-7-7.3—which only applies only to firearm “sellers” and “buyers”—is a

presumptively lawful commercial regulation. “Bruen, McDonald, and Heller preserved the idea

that the government could ‘[impose] conditions and qualifications on the commercial sale of

arms.’” United States v. Marique, 647 F. Supp. 3d 382, 385 (D. Md. 2022) (quoting Bruen, 597

U.S. at 81 (Kavanaugh, J., concurring)); see also United States v. Tilotta, No. 3:19- cr-04768-GPC,

2022 WL 3924282, at *6 (S.D. Cal. Aug. 30, 2022) (“[T]he natural reading of ‘keep and bear arms’

does not include the ability to sell or transfer firearms unrestricted”); Rocky Mountain Gun

Owners, 2023 WL 8446495, at *11 (“Because [the challenged waiting-period law] imposes a

condition on the commercial sale of a firearm, the Act is presumptively lawful under Heller[.]”);

Silvester, 843 F.3d at 829 (Thomas, C.J., concurring) (“As a longstanding qualification on the

commercial sale of arms under [Heller], a ten-day waiting period is presumptively lawful.”).




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  Following Bruen, there is some uncertainty as to whether the presumptively lawful category
exists at the first or second step of the Bruen analysis. See Rocky Mountain Gun Owners, 2023
WL 8446495, at *10. Under either approach, Section 30-7-7.3 is presumptively lawful.
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        Notably, the Fifth Circuit recently upheld a background check law that imposes an

expanded waiting period as a presumptively lawful regulation. In McRorey, the Fifth Circuit

considered a challenge to a federal law providing for enhanced background checks for firearm

purchasers under 21, which can create a waiting period of up to 10 days before delivering a firearm.

99 F.4th at 835. The court upheld the denial of a preliminary injunction against the law, finding

that it “falls into that category” of presumptively lawful regulations. Id. at 836. As the court

observed, “In Heller, the Court described conditions and qualifications on the commercial sale of

arms as presumptively lawful. Bruen did nothing to disturb that part of Heller.” Id. (cleaned up).

And while the Fifth Circuit acknowledged that “there is some point at which a background check

becomes so lengthy that it is ‘put towards abusive ends’ or subject to Bruen’s historical framework

as a de facto prohibition on possession,” it concluded “a period of 10 days does not qualify.” Id. at

840. Plaintiffs give this Court no reason to reach a different conclusion here.

                3.      The waiting period is consistent with history and tradition

        Lastly, even if Plaintiff could meet their initial burden that the plain text of the Second

Amendment covers the right to immediately acquire a purchased firearm and Section 30-7-7.3 was

not a presumptively lawful commercial regulation, a seven-day waiting period is consistent with

this Nation’s history and tradition of firearm regulation. Under Bruen’s second step, “[t]he

government must then justify its regulation by demonstrating that it is consistent with the Nation’s

historical tradition of firearm regulation.” 597 U.S. at 24. This inquiry considers whether there is

“historical precedent” from before, during, and after the enactment of the Second and Fourteenth

Amendments that “evinces a comparable tradition of regulation” in a similar manner as the present-

day restriction. Id. at 27.




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       Two primary metrics are relevant for determining whether a modern regulation is

“relevantly similar” to a historical regulation: “how and why the regulations burden a law-abiding

citizen’s right to armed self-defense.” Id. at 29. “[W]hether modern and historical regulations

impose a comparable burden on the right of armed self-defense and whether that burden is

comparably justified are ‘central’ considerations when engaging in an analogical inquiry.” Id. But

the Court made it “clear” that analogical reasoning under the Second Amendment is not “a

regulatory straightjacket.” Id. Due to “unprecedented societal concerns” and “dramatic

technological changes,” “[t]he regulatory challenges posed by firearms today are not always the

same as those that preoccupied the Founders in 1791 or the Reconstruction generation in 1868.”

Id. at 27. Accordingly, Defendants need only demonstrate that Section 30-7-7.3 has “a well

established and representative historical analogue, not a historical twin.” Bruen, 597 U.S. at 30.

       This case presents a clear example of both “unprecedented societal concerns” and

“dramatic technological changes” that have altered the “regulatory challenges” from what

preoccupied the Founders or the Reconstruction generation. Id. at 27. The issues that Section 30-

7-7.3 primarily seeks to address (i.e., impulsively purchasing a firearm to commit a homicide or

suicide) involve both “unprecedented societal concerns” and “dramatic technological changes”

because “firearms were not as readily available for purchase and . . . impulsive gun homicides

were much less prevalent at the time of the founding and in the century that followed.” Rocky

Mountain Gun Owners, 2023 WL 8446495, at *16; see Exhibit B ¶¶ 5-56. The same goes for

impulsive gun suicides. 12 As Professor Robert Spitzer notes:
                        11F




12
   Exhibit B ¶¶ 52-55; compare Suicide Data and Statistics, Ctrs. for Disease Ctr. & Prevention,
https://www.cdc.gov/suicide/facts/data.html (last visited May 19, 2024) (stating that firearms are
the most common method of suicide), with Eric Ruben, Scientific Context, Suicide Prevention, and
the Second Amendment After Bruen, 108 Minn. L. Rev. (forthcoming 2024) (manuscript at 150),
                                                15
       No “Guns-R-Us” outlets existed in the 1600s, 1700s, or most of the 1800s. Rapid,
       convenient gun sales processes did not exist in the U.S. until the end of the
       nineteenth century, when mass production techniques, improved technology and
       materials, and escalating marketing campaigns all made guns relatively cheap,
       prolific, reliable, and easy to get. . . . When the adverse consequences of the spread
       of cheap handguns began to be felt, states enacted numerous anti-gun carry
       restrictions in the late 1800s and early 1900s.

Exhibit A ¶¶ 9-10; accord Silvester, 843 F.3d at 827 (“Before the age of superstores and

superhighways, most folks could not expect to take possession of a firearm immediately upon

deciding to purchase one. As a purely practical matter, delivery took time.”). In other words,

“[t]hough delay has not always been associated with government regulation, the ability to

immediately exercise Second Amendment rights has no foundation in history.” Silvester, 843 F.3d

at 831 (Thomas, C.J., concurring). Accordingly, the Court should use reasoning by analogy to

determine Section 30-7-7.3’s constitutionality. See Rocky Mountain Gun Owners, 2023 WL

8446495, at *16.

       Two types of historical analogues stand out here given their “how” (i.e., temporarily

delaying the transfer of a firearm) and “why” (i.e., to avoid impulsive gun violence): laws

involving intoxicated persons and licensing regimes. As one district court recently observed after

relying on Professor Spitzer’s declaration listing laws from multiple states ranging from 1623 to

1893 that prevented the sale of arms to intoxicated individuals and the possession of firearm by

intoxicated individuals, “our Nation had a historical tradition of regulating the carrying and use of

firearms by intoxicated individuals.” Rocky Mountain Gun Owners, 2023 WL 8446495, at **17-

18; accord Exhibit A ¶¶ 15-39; see generally Antonyuk, 89 F.4th 271, 303-04 (explaining that even

a few instances of historically comparable regulations can be sufficient to meet Bruen’s second




https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4710807 (concluding “that firearms still did
not account for nearly the proportion of suicides [in the 1800’s] that they do today”).
                                                 16
step, particularly in the absence of evidence that the regulations’ lawfulness was disputed). And

the Rocky Mountain court found that these were proper analogues because they “both work to

prevent individuals in a temporary impulsive state from irresponsibly using a firearm.” Rocky

Mountain Gun Owners, 2023 WL 8446495, at **17-18; see Exhibit A ¶ 15.

       The Rocky Mountain court also concluded that licensing regimes were a proper analogue

“because they support that the Founders and Reconstruction generation would have accepted a

modest delay on the delivery of a firearm in order to ensure that those receiving a firearm are law-

abiding, responsible citizens.” Id. *19. 13 As the court explained, “Waiting periods are similar to
                                          12F




‘shall-issue’ licensing regimes in that they require that an action be taken—delivery of the

purchased firearm—after a defined requirement is met” and they “do not necessarily prevent ‘law-

abiding, responsible citizens’ from exercising their Second Amendment right[s].” Id. (quoting

Bruen, 142 S. Ct. at 2138 n.9); Exhibit A ¶ 14. Respectfully, this Court should reach the same

conclusion and hold that Section 30-7-7.3 is consistent with history and tradition based on these

two categories of historical analogues.

       B.      Plaintiff cannot demonstrate irreparable harm

       “[A] showing of probable irreparable harm is the single most important prerequisite for the

issuance of a preliminary injunction[.]” First W. Capital Mgmt. Co. v. Malamed, 874 F.3d 1136,

1141 (10th Cir. 2017) (cleaned up). Here, the Court should reject, or at the very least substantially

discount, any claims of irreparable harm given that Plaintiffs inexplicably waited months to file




13
  The court did not detail the history of the Nation’s licensing laws “[b]ecause the Supreme Court
in Bruen indicated that there is a sufficient historical basis for ‘shall-issue’ licensing regimes.”
Rocky Mountain Gun Owners, 2023 WL 8446495, at *19 (citing Bruen, 142 S. Ct. at 2138 n.9).
However, as Professor Spitzer details, there is a long and widespread history of licensing laws
dating back to the 1600’s. See Exhibit A ¶¶ 40-99.
                                                 17
this action despite being aware of the passage of House Bill 129. 14 See supra note 7 and
                                                                         13F




accompanying text; GTE Corp. v. Williams, 731 F.2d 676, 679 (10th Cir. 1984) (“[D]elay is an

important consideration in the assessment of irreparable harm for purposes of injunctive relief.”);

see also Benisek v. Lamone, 138 S. Ct. 1942, 1944 (2018) (“A party requesting a preliminary

injunction must generally show reasonable diligence.”); Wreal, Ltd. Liab. Co. v. Amazon.com, 840

F.3d 1244, 1248 (11th Cir. 2016) (“A delay in seeking a preliminary injunction of even only a few

months—though not necessarily fatal—militates against a finding of irreparable harm.”); 11A Fed.

Prac. & Proc. Civ. § 2948.1 (3d ed.) (“A long delay by plaintiff after learning of the threatened

harm also may be taken as an indication that the harm would not be serious enough to justify a

preliminary injunction.” (cleaned up)).

       Putting aside Plaintiffs’ delay, Plaintiffs fail to demonstrate irreparable harm. The only

alleged irreparable injury Plaintiffs cite in the Motion is the temporary loss of their Second

Amendment rights. See Motion ¶ 27. However, as Defendants explain above, Plaintiffs fail to

establish a likelihood of succeeding on the merits of their Second Amendment claim. Plaintiffs,

therefore, cannot rely on any per se irreparable harm based on the purported loss of their

constitutional rights. See Logan v. Pub. Emps. Ret. Ass’n, 163 F. Supp. 3d 1007, 1030 (D.N.M.

2016) (“[A] plaintiff who cannot demonstrate a substantial likelihood of success is not entitled to

a presumption of irreparable harm.” (citing Schrier, 427 F.3d at 1266)). But even if Plaintiffs could

establish a likelihood of success, they still fail to show irreparable harm from a seven-day waiting

period when they both already own firearms. See Bevis, 85 F.4th at 1202-03 (saving “for another

day” the question of “whether an alleged Second Amendment violation gives rise to a presumption



14
  Perhaps cynicism now carries the day, but it appears more than likely that Plaintiffs
manufactured an emergency in hopes of getting this Court to provide extraordinary relief that they
know they are not entitled to.
                                                 18
of irreparable harm, and if so, whether any such presumption is rebuttable or ironclad”); Rocky

Mountain Gun Owners, 2023 WL 8446495, at *20 (finding no irreparable harm when the plaintiffs

“have alleged no harm associated with the right of self-defense”); Motion, Exhibit B ¶ 4, Exhibit

C ¶ 4. Accordingly, the Court must deny the Motion. See Malamed, 874 F.3d at 1141.

       C.      The balance of the equities and public interest weigh heavily against granting
               a preliminary injunction

       Assuming, arguendo, Plaintiffs demonstrated a strong likelihood of success and an

irreparable injury, they fail to clearly demonstrate that the threatened injury outweighs the harm

that preliminary injunctive relief would cause Defendants and the public. 15 It cannot be gainsaid
                                                                                14F




that the State (and the public) has a compelling interest in preventing impulsive murders and

suicides. 16 And research clearly demonstrates that waiting periods, such as the one the Governor
         15F




signed into law, would prevent many of these unnecessary deaths. 17 For example, one peer
                                                                          16F




15
  Plaintiffs argue that “interest balancing is not appropriate in the Second Amendment context.”
Motion at 12. However, “Bruen did not consider whether a preliminary injunction should be
granted, and thus it did not apply the test established in [Winter v. Nat. Res. Def. Council, Inc., 555
U.S. 7 (2008)], which requires this Court to consider the public interest in determining whether to
temporarily enjoin enforcement of a law.” Kipke v. Moore, 2023 WL 6381503, at *17 (D. Md.
Sept. 29, 2023).
16
  Plaintiffs assert that Defendants do not have any “interest in enforcing a law that is likely
constitutionally infirm.” Motion ¶ 28 (quoting Chamber of Com. of U.S. v. Edmondson, 594 F.3d
742, 771 (10th Cir. 2010)). However, this argument holds no water when Plaintiffs fail to show
any likely constitutional infirmity, as they do here. See Rocky Mountain Gun Owners, 2023 WL
8446495, at *21.
17
  See Michael Luca, Handgun waiting periods reduce gun deaths, Proceedings of the Nat’l Acad.
of Sciences (Nov. 14, 2017), https://www.pnas.org/doi/epdf/10.1073/pnas.1619896114; Zachary
Dunton, et al., The Association Between Repealing the 48-Hour Mandatory Waiting Period on
Handgun Purchases and Suicide Rates in Wisconsin, Archives of Suicide Research, 26(3),
https://www.tandfonline.com/doi/abs/10.1080/13811118.2021.1886209 (concluding that that the
repeal of the 48-hour waiting period on handgun purchases in 2015 is correlated with the increase
of firearm-related suicides among Wisconsin residents of color and Wisconsinites residing in
urban counties); Bradley Kawano, et al., Restrictive Firearm Laws and Firearm-Related Suicide,
236 Am. College of Surgeons 37 (2023) (concluding that States with background checks,
                                                  19
reviewed study concluded that “waiting periods reduce gun homicides by roughly 17%.” 18 That17F




translates to saving nearly 100 New Mexicans every year. See Ctrs. for Disease Ctr. & Prevention,

supra note 1. As the Rocky Mountain Gun Owners court concluded, balancing Plaintiffs’ minimal

and fleeting “harms” against the public interest in saving lives “is not remotely close.” Rocky

Mountain Gun Owners, 2023 WL 8446495, at *22. This Court should similarly conclude.

                                         CONCLUSION

       For the foregoing reasons, the Court should deny Plaintiffs’ request for a preliminary

injunction.




mandatory waiting periods, and prohibited possession were associated with lower suicide rates for
all firearm types compared with states without these laws); Christoph Koenig & David Schindler,
Impulse Purchases, Gun Ownership, and Homicides: Evidence from a Firearm Demand Shock,
The Review of Econ. & Stat. (Sept. 2023), https://direct.mit.edu/rest/article/105/5/1271/107404/
Impulse-Purchases-Gun-Ownership-and-Homicides (finding evidence that waiting period laws
“can substantially reduce homicides by preventing impulsive purchases”); Michael D. Anestis, et
al., Handgun Legislation and Changes in Statewide Overall Suicide Rates, AJPH Research (April
2017),        https://ajph.aphapublications.org/doi/pdf/10.2105/AJPH.2016.303650           (finding
“significant differences in suicide rate changes from 2013 to 2014 in states with mandatory waiting
periods and universal background checks relative to states without such laws”). In addition to these
studies, Stanford Law Professor John J. Donohue recently submitted an affidavit in support of
Vermont’s waiting period law and concluded that “substantial empirical evidence illustrates that
waiting periods prior to the purchase of weapons . . . will reduce suicides – particularly among
young adults – and would be expected to reduce the risk of the type of episodes seen in recent
years of enraged individuals buying firearms on the way to commit mass violence and other
criminal act.” Expert Report and Affidavit of John J. Donohue [Doc. 24-6], ¶ 23, Vermont Fed’n
of Sportsmen’s Clubs v. Birmingham, No. 2:23-cv-00710 (D. Vt. May 14, 2024). Professor
Donohue’s declaration may be found here: https://storage.courtlistener.com/recap/gov.
uscourts.vtd.36167/gov.uscourts.vtd.36167.24.6.pdf. The Court may (and should) consider this
affidavit even though it was filed in another case given the difficulties in finding and retaining
experts in such a truncated timeline. See Hernandez v. Lujan Grisham, 494 F. Supp. 3d 1044, 1067
n.2 (D.N.M. 2020) (Browning, J.) (finding declarations filed in another court “persuasive”).
18
   See Luca, supra note 17; see also Rocky Mountain Gun Owners, 2023 WL 8446495, at *21
(finding the Luca study persuasive).
                                                20
                                            Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on June 4, 2024, I filed the foregoing via the CM/ECF filing system,

which caused all counsel of record to be served by electronic means.


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